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      John Balazs, Bar. No. 157287
1    Attorney at Law
     916 2nd Street, Suite F
2    Sacramento, California 95814
     Telephone: (916) 447-9299
3    Facsimile: (916) 557-1118
     john@balazslaw.com
4
     Attorney for Defendant
5    ELIAS ALVAREZ RAMIREZ
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8
                                          UNITED STATES DISTRICT COURT
9
                                      EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                        No. 2:09-CR-0244-01 WBS
12
                             Plaintiff,               STIPULATION AND ORDER
13
               v.                                     Sentencing:
14                                                    Date: February 6, 2017
     ELIAS ALVAREZ RAMIREZ,                           Time: 9:00 a.m.
15                                                    Hon. William B. Shubb
                             Defendant.
16
17
               Defendant, ELIAS ALVAREZ RAMIREZ, by and through his attorney, John Balazs, and
18
     plaintiff, UNITED STATES OF AMERICA, by and through its counsel, Assistant U.S. Attorney
19
     Brian Fogerty, hereby stipulate to extend the schedule for objections to the presentence report by
20
     one week while keeping the sentencing hearing on February 6 as follows:
21
               Motion for Correction of PSR                       January 16, 2017
22
23             Reply or Statement                                 January 30, 2017
24
               Judgment and Sentencing Date                       February 6, 2017 at 9:00 am
25
               ///
26
27             ///
28
               ///
     Stipulation and Order                              1
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1              This request is made because the defendant needs additional time to review discovery,

2    consult with a forensic expert, and prepare sentencing papers.

3    Dated: January 9, 2017                        Dated: January 9, 2017

4
     PHILLIP TALBERT
5    Acting United States Attorney

6
     /s/ Brian Fogerty                              /s/John Balazs
7    BRIAN FOGERTY                                 JOHN BALAZS
     Assistant U.S. Attorney
8
     Attorney for Plaintiff                        Attorney for Defendant
9    UNITED STATES OF AMERICA                      ELIAS ALVAREZ RAMIREZ

10
11                                                 ORDER

12             IT IS SO ORDERED.

13   Dated: January 9, 2017

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     Stipulation and Order                             2
